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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                            )
                                                    )      No. 2:18-cr-00687
                                                    )
                                                    )     Hon. John Michael Vazquez, U.S.D.J.
v.                                                  )
                                                    )
MELISSA REYNOLDS,                                   )
Defendant                                           )         OPINION & ORDER

UNITED STATES OF AMERICA                            )
                                                    )      No. 2:18-cr-00379
                                                    )
                                                    )     Hon. John Michael Vazquez, U.S.D.J.
v.                                                  )
                                                    )
GERMAINE KING,                                      )
Defendant                                           )         OPINION & ORDER



        On December 18, 2019, the Court sentenced Defendant Melissa Reynolds in Crim. No. 18-

687. On January 7, 2020, the Court sentenced Defendant Germaine King in Crim. No. 18-379.

Reynolds and King indicate that they are married, and their criminal convictions stem from joint

activity.

        Thereafter, on January 13, 2020, Reynolds filed a letter request asking that her and King’s

sentence be staggered because of her minor child, G.J., who resides with King and Reynolds; King’s

minor daughter, S.K., who resides with King and Reynolds several nights a week; and King’s mother,

N.F., who resides with King and Reynolds. The Government filed opposition, dated January 23, 2020,

noting that Reynolds had failed to adequately demonstrate that no alternative living arrangements

were available. In reply, Germaine King wrote that the reason for the request was due to financial

responsibilities.

        The Court agrees with the Government. King and Reynolds have failed to demonstrate that
alternate
    Caseliving arrangements are not
          2:18-cr-00687-JMV         reasonably
                                Document    99 available. For example,
                                                 Filed 01/27/20   PageG.J.’s
                                                                       2 of 2father resides
                                                                               PageID:   157in the

area and apparently has stable employment. Similarly, S.K.’s mother also resides in the area and has

stable employment. Moreover, King and Reynolds’ fail to sufficiently account for other family

members as to N.F. Finally, Reynold’s initially indicated that the request for staggered sentences was

due to family living arrangements, but King in his reply emphasized a different reason, financial

hardship. However, because G.J. resides with Reynolds and King, and because he may have to

transfer schools if he is no longer able to reside with them, the Court will grant limited relief to ensure

that G.J. is able to complete his current academic year at his school.

        For the foregoing reasons, and for good cause shown,

        It is on this 27th day of January, 2020, hereby

        ORDERED that Melissa Reynolds, Crim. No. 18-687, shall not be designated by the Bureau

of Prison to commence her sentence before July 1, 2020; and it is further

        ORDERED that Reynolds and King’s request for serving staggered sentences is otherwise

DENIED; and it is further

        ORDERED that this Opinion and Order shall be filed in both Crim. No. 18-687 and in Crim.

No. 18-379; and it is further

        ORDERED the Clerk’s Office shall mail a copy of this Opinion and Order to Reynolds and

to King.


                                                                s/ John Michael Vazquez
                                                                John Michael Vazquez, U.S.D.J.




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